                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS
                        KANSAS CITY DOCKET

UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                       Case No. 2:21-CR-20001-DDC-JPO

MICHAEL AHLERS,

                    Defendant.



                                  INFORMATION

   The United States Attorney Charges:

                                 Counts 1 through 10
                                     Bank Fraud
                                  (18 U.S.C. § 1344)
      1. Beginning at a date unknown, but by at least in or about January 2009,

and continuing through in or about August 2015, in the District of Kansas, the
defendant,

                                 MICHAEL AHLERS,
knowingly and intentionally devised a scheme and artifice to defraud the

University of Kansas Medical Center (KUMC), and to obtain money, funds, and

credits owned by and under the custody and control of KUMC, by means of

materially false and fraudulent pretenses, representations, and promises, and by

omission of material facts.
                        Parties, Relevant Persons, Entities

      At times relevant to this information:

      2. KUMC was an academic and research medical center. KUMC provides

inpatient and outpatient care through the University of Kansas Hospital

(inpatient care) and separate clinical practices (outpatient care) that are affiliated
with the University of Kansas.

      3. The Occupational Therapy (OT) Education Department was an

academic department within the School of Health Professions located at the

KUMC campus in Kansas City, Kansas. The OT Education Department offered

three graduate programs in occupational therapy and partnered with external

organizations to provide occupational therapy services.

      4. KUMC Credit Union was a not-for-profit, financial cooperative owned

by its members and chartered by the State of Kansas. The KUMC Credit Union

was a financial institution as that term is defined at Title 18, United States Code,

Section 20, whose deposits were insured by the National Credit Union

Administration.

      5. From April 2004 through in or about August 2015, AHLERS was the

Administrative Officer in the OT Education Department at KUMC.

                                 Manner and Means

      6.   As the Administrative Officer, AHLERS was responsible for all

administrative tasks and financial transactions for the OT Education Department,

including budget management, purchasing, billing of external entities, and grant

management.


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       7. The object of the scheme to defraud was for AHLERS to use his position

as Administrative Officer to steal money from KUMC through unauthorized

disbursements to himself.

       8. As part of the scheme, AHLERS, without KUMC’s knowledge or

consent, utilized a bank account at KUMC Credit Union (account number ending

in 375), located in Kansas City, Kansas. The KUMC Credit Union account was

opened in the name of the OT Education Department, but as of at least June 2007,

AHLERS was the only current KUMC employee who was a signatory on the

account. In or about November 2012, AHLERS made himself the sole signatory
on the account.

       9. By utilizing the KUMC Credit Union account without KUMC’s
knowledge or consent, AHLERS bypassed oversight and the normal process by

which funds are deposited into a State-controlled bank account, revenue

recorded in the university financial system, and funds allocated to department

accounts that are reconciled on a monthly basis.
       10. As part of the scheme to defraud, AHLERS caused funds intended for

use by the OT Education Department to be deposited into the unauthorized
KUMC Credit Union account and then withdrew money from the account and

diverted it for his personal gain. AHLERS withdrew money through cash

withdrawals and cashier’s checks made payable to himself, members of his

family, and M&M Group, LLC, a business entity controlled by AHLERS and

M.A.

       11. To conceal his conduct, AHLERS generated invoices outside of

KUMC’s established financial systems so that only he had visibility of funds that
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he caused to be deposited into the KUMC Credit Union account and then

diverted for his personal gain.

      12. To further conceal his conduct, AHLERS failed to report the embezzled

funds as income on his tax returns for the years 2009 through 2015.

      13. To further conceal his conduct, on his last day working in the OT

Education Department, AHLERS withdrew all of the funds and closed the

KUMC Credit Union account.
      14. Between 2009 and 2015, AHLERS stole more than $500,000 via the

fraudulent scheme described above.

                             Execution of the Scheme

      15. On or about the dates set forth in the separate counts below, in the

District of Kansas, the defendant,

                              MICHAEL AHLERS,

knowingly and intentionally executed and attempted to execute the

aforementioned scheme and artifice to defraud KUMC Credit Union and to
obtain certain moneys, funds, credits, assets, securities, and other property

owned and under the custody and control of KUMC Credit Union, by means of
materially false and fraudulent pretenses, representations, and promises, and by

omission of material facts, that is, AHLERS caused funds be drawn on the

KUMC Credit Union account and diverted the funds for his personal gain as

described below:




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 Count    Date          Means of Withdrawal                              Amount
 1        12/9/2010     Cashier’s check payable to M&M Group, LLC        $1,875.36
 2        2/16/2011     Cashier’s check payable to J.A.                  $1,800
 3        2/20/2012     Cashier’s check payable to S.O.                  $2,500
 4        5/25/2012     Cash withdrawal                                  $800
 5        7/25/2012     Cashier’s check payable to M&M Group, LLC        $4,255
 6        8/2/2013      Cashier’s check payable to Michael Ahlers        $2,056.33
 7        1/16/2014     Cashier’s check payable to M&M Group, LLC        $4,750
 8        9/15/2014     Cash withdrawal                                  $800
 9        2/12/2015     Cashier’s check payable to Michael Ahlers        $1,955.33
 10       3/24/2015     Cashier’s check payable to M&M Group, LLC        $4,103.33
   All in violation of Title 18, United States Code, Section 1344.

                            Counts 11 through 13
          Making and Subscribing to False Federal Income Tax Returns
                             (26 U.S.C. § 7206(1))
      16. Paragraphs 1 through 15 are incorporated here.

      17. On or about the dates set forth in the separate counts below, in the

District of Kansas, the defendant,

                               MICHAEL AHLERS,

a resident of Lenexa, Kansas, willfully made and subscribed United States

Individual Income Tax Returns, Forms 1040, for the calendar years listed below,

each of which was verified by a written declaration that it was made under the

penalty of perjury, which AHLERS did not believe to be true and correct as to
every material matter. Those returns, each of which was prepared and signed in

the District of Kansas and was filed with the Internal Revenue Service, reported
total income for tax years as set forth below, whereas, as AHLERS then and there

well knew and believed, his taxable income was substantially greater because he

failed to report embezzled funds in the following amounts:


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 Count Filing Date/Calendar Year         Unreported Additional Income
 11    October 6, 2014/2013              Approximately $120,118 in funds
                                         embezzled from KUMC for his personal
                                         gain
 12      October 15, 2015/2014           Approximately $71,265 in funds
                                         embezzled from KUMC for his personal
                                         gain
 13      October 16, 2016/2015           Approximately $20,646 in funds
                                         embezzled from KUMC for his personal
                                         gain
   All in violation of Title 26, United States Code, Section 7206(1).
                                  Forfeiture Notice

      18. Paragraphs 1-17 are incorporated for purposes of alleging forfeitures

pursuant to Title 18, United States Code, Section 982(a)(2)(A).

      19. Upon conviction of the offenses in violation of Title 18, United States

Code, Section 1344, set forth in Counts 1-10 of this Information, the defendant,

                               MICHAEL AHLERS,
shall forfeit to the United States of America, pursuant to Title 18, United States

Code, Section 982(a)(2)(A), any property constituting, or derived from, proceeds

obtained, directly or indirectly, as a result of such violations. The property to be

forfeited includes, but is not limited to, the following:

          A. A forfeiture money judgment in an amount equal to the amount of

proceeds that the defendant obtained from the commission of Counts 1-10.

      20. If any of the property described above, as a result of any act or omission

of the defendant:
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           A. cannot be located upon the exercise of due diligence;

           B. has been transferred or sold to, or deposited with a third party;

           C. has been placed beyond the jurisdiction of the court;

           D. has been substantially diminished in value; or

           E. has been commingled with other property which cannot be divided

              without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

18, United States Code, Section 982(b)(1) and Title 28, United States Code, Section
2461(c).

                                       Dated: January 12, 2021


                                        /s/ Ryan J. Huschka
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(It is requested that trial of the above-captioned case be held in Kansas City,

Kansas.)




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                                  PENALTIES:

Counts 1-10: Bank Fraud, 18 U.S.C. § 1344

   • A term of imprisonment not to exceed thirty (30) years.

   • A fine not to exceed $1,000,000.

   • A term of supervised release not to exceed five (5) years.
   • A mandatory special assessment of $100.

   • Forfeiture allegation.

Counts 11-13: Making and Subscribing to False Federal Income Tax Return, 26
                             U.S.C. § 7206(1)
   • A term of imprisonment not to exceed three (3) years.

   • A fine not to exceed $250,000.

   • A term of supervised release not to exceed one (1) year.

   • A mandatory special assessment of $100.
